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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )     CASE NO. 2:12cr221-MHT
                                                )           (WO)
MARK EDWARD ELLIOTT                             )

                    AMENDED PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the forfeiture allegation of the superseding indictment and the bill of

particulars in the above case, the United States sought forfeiture of specific property; and,

       WHEREAS, defendant Mark Elliott consents to the forfeiture of specific property;

       IT IS HEREBY ORDERED THAT the government’s motion for an amended

preliminary order of forfeiture (doc. no. 717) is granted as follows:

       1.      As a result of the guilty plea on Count 1 of the superseding indictment, the

               defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all

               property constituting or derived from proceeds defendant obtained directly or

               indirectly as a result of the said violation and any and all property used or

               intended to be used in any manner or part to commit and to facilitate the

               commission of the offense in violation of 21 U.S.C. § 846.

       2.      The Court has determined that the following property is subject to forfeiture

               pursuant to 21 U.S.C. § 853; that the defendant has an interest in such property;

               and, that the United States has established the requisite nexus between such

               property and such offense:

               a.      a 2005 XV1700 Yamaha motorcycle, vin: JYAVP14E15A010885; and,

               b.      a .22 caliber firearm.
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       3.     The real property located at 1601 Buttermilk Road, Lapine, Alabama is dismissed

              from this forfeiture action.

       4.     The United States is ordered to remove any documents posted to the real property

              and file a Release of Lis Pendens with the Judge of Probate Montgomery County,

              Alabama, releasing the previously filed Lis Pendens against the real property

              located at 1601 Buttermilk Road, Lapine, Alabama.

       IT IS FURTHER ORDERED that the Clerk of the Court shall forward a certified copy

of this Amended Order to the United States Attorney’s Office.

       DONE, this the 27th day of October, 2014.

                                                  /s/ Myron H. Thompson___
                                              UNITED STATES DISTRICT JUDGE
